 

JN THE UNITED STATES DISTRICT COURT
JERN DISTRICT OF TEXAS
mK Case 3:16 QRobBE BPR PP Documep IGA OU1UIO “Page 1 of 2 PagelD 1

5 DISTRICT COURT

  

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: Civil Action No:
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COMPLAINT

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Dated, this 4 day of) ooember A004

Signature 610k: Ln —

Pnnt Name L JOR & Kina Na

Address Bo4I V; eto 4g rande Dr
Dallas, “Texas 7544.

Telephone 474-180 - (L149

 

 
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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September }974, is required for the use of the Clerk of Court for the purpose of mitiating

83S 44 Wey] 12707)

the civil docket sheet.

{SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

1. (a) PLAINTIFFS

Lora

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(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

Da | la S

(c) Atlomey’s (Firm Name, Addtess, and Telephone Number)

-1 0 CV" 042"

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DEFENDANTS

Life Schoo

 

NOTE:

Attomeys (If Known)

 

County of Residence of First Listed Defendant

Tor Wilson, Keith Shull
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(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
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HF. BASIS OF JURISDICTION (Place an “xX” in One Box Only) HI. CIFIZENSHIP OF PRINCIPAL PARTIES piace an*
(For Diversity Cases Only)
OF VS. Government 3 Federal Question PTE
Plaintiff (U.S. Government Not a Pasty} Citizen of This State oT

02 US. Government
Defendant

O 4 Diversity

(Indicate Citizenship of Parties in hem JH)

 

Citizen of Another State o

Citizen or Subject of a Oo
Foreign Country

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Foreign Nation

 

 

 

 

 

 

 

 

 

 

 

 

 

IV. NATURE OF SUIT (Place an “X” in One Box Onlv}
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O 150 Insurance PERSONAL INJURY PERSONAL INJURY [0 610 Agriculture C3 422 Appeal 28 USC 158 } 400 State Reapportionment
O 120 Marine OO 340 Airplane 0 362 Personal Injury - {3 620 Other Food & Drug. O 423 Withdrawal O 410 Antitrust
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are filing (Do not cite jurisdictional statutes unless diversity):

Vi. CAUSE OF ACTION

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(See instructions):

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AMOUNT APPLYING IFP JUDGE

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